494 F.2d 45
    UNITED STATES of America, Plaintiff-Appellee,v.Clarence Willie ROUSE, Defendant-Appellant.No. 73-3815 Summary Calendar.**Rule 18, 5 Cir.; Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    May 13, 1974.
    
      John W. Rogers, Eric Welch, Atlanta, Ga., for defendant-appellant.
      John W. Stokes, Jr., U.S. Atty., Gale McKenzie, Asst. U.S. Atty., Atlanta, Ga., for plaintiff-appellee.
      Before WISDOM, GOLDBERG and GEE, Circuit Judges.
      PER CURIAM:
    
    
      1
      On March 29, 1973, a lone man robbed the Citizens Trust Bank in Atlanta, Georgia, of $49,925.99.  Approximately $29,200 of this amount was in one hundred dollar bills.  The day after the robbery Clarence Willie Rouse, the defendant-appellant, bought a new Cadillac by paying $11,100 in one hundred dollar bills, bound in stacks and carried in a brown paper bag.  Rouse was subsequently arrested, tried, and convicted of bank robbery in violation of 18 U.S.C. 2113(a).  His only contention on appeal is that it was harmful error to admit testimony concerning his purchase of the Cadillac.
    
    
      2
      The contested evidence was relevant and probative.  'Where there is other evidence of the guilt of the accused and the crime is of such a nature that the acquisition of money may be regarded as a natural or ordinary result of its perpetration, evidence is admissible of the sudden acquisition of money by the defendant . . . at or subsequent to the time the offense was committed, although the source of the money is not definitely traced or identified by the prosecution.'  United States v. Manning, 5 Cir. 1971, 440 F.2d 1105, 1110, cert. denied, 404 U.S. 837, 92 S.Ct. 125, 30 L.Ed.2d 69.  See also United States v. Iacovetti, 5 Cir. 1972, 466 F.2d 1147, 1153, cert. denied, 410 U.S. 908, 93 S.Ct. 963, 35 L.Ed.2d 270.  Three bank employees identified Rouse in court as the robber.
    
    
      3
      Affirmed.
    
    